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10                      UNITED STATES DISTRICT COURT
11             CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
12     LOCAL 272 LABOR-MANAGEMENT                      Case No. 2:23-cv-03661
       PENSION FUND, CENTRAL
13     PENNSYLVANIA TEAMSTERS PENSION
14     FUND, CENTRAL PENNSYLVANIA                      MEMORANDUM OF POINTS AND
       TEAMSTERS PENSION FUND –                        AUTHORITIES IN SUPPORT OF
15
       RETIREMENT INCOME PLAN 1987,                    DEFENDANTS’ CONSOLIDATED
16     CENTRAL PENNSYLVANIA TEAMSTERS                  MOTION TO DISMISS
       HEALTH AND WELFARE FUND AND                     CONSOLIDATED COMPLAINT
17
       JOHN P. TALBOT, on Behalf of Themselves
18     and All Others Similarly Situated,
19                                            Filed concurrently:
                                  Plaintiffs, - Notice of Motion & Motion to Dismiss
20                                            - Request for Judicial Notice and
                       v.
21                                            Consideration of Documents
       THE WALT DISNEY COMPANY, ROBERT Incorporated by Reference
22     IGER, ROBERT CHAPEK, CHRISTINE M. - Declaration of Lauren Barnett
23     MCCARTHY AND KAREEM DANIEL,            - [Proposed] Order

24                                       Defendants.
                                                       Date: March 26, 2024
25
                                                       Time: 10:00 a.m.
26                                                     Ctrm: 8D
27
                                                       Judge Consuelo B. Marshall
28

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1           The Consolidated Complaint spends nearly 200 pages criticizing various business
2     decisions at Disney, asserting—with the benefit of hindsight—that Defendants should
3     have run Disney’s streaming service, Disney+, differently than they did. But the
4     securities laws provide remedies for fraud, not unpopular business decisions. A plaintiff
5     cannot “skirt[] dismissal by filing a complaint laden with vague allegations of deception
6     unaccompanied by a particularized explanation stating why the defendant’s alleged
7     statements or omissions are deceitful”. Metzler Inv. GMBH v. Corinthian Colleges, Inc.,
8     540 F.3d 1049, 1061 (9th Cir. 2008). Plaintiffs do not adequately plead securities fraud.
9           First, there can be no securities fraud under any theory—not one framed as
10    misstatements nor one dramatized as a scheme—unless Plaintiffs adequately plead that
11    Defendants did something to deceive investors. Here, Plaintiffs cannot plead that
12    bedrock element of deception because the purported fraud—sacrificing short-term profits
13    to grow Disney+ subscribers—was fully and repeatedly disclosed to investors.
14          Whether or not that was a good plan, it cannot be securities fraud because
15    Defendants consistently disclosed the very information that Plaintiffs allege was
16    concealed, including that (i) launching Direct-to-Consumer (“DTC”) and investing in
17    Disney+ had caused—and would continue to cause—large operating losses for years;
18    (ii) Disney would spend significant money on Disney+ content; (iii) certain subscribers
19    (wholesale subscribers and those in international markets) were less financially beneficial
20    than others; (iv) Disney would forgo revenue from other sources to attract subscribers to
21    Disney+; (v) Disney reorganized the company to have a Disney Media and Entertainment
22    Distribution (“DMED”) division to focus on DTC distribution; and (vi) Disney’s plans
23    for DTC were risky and might fail. Whether alternatively characterized as “nine
24    artifices” related to an alleged scheme or as eight categories of alleged misstatements,
25    Plaintiffs’ 10b-5 claim fails for the same reason: Plaintiffs cannot show that Defendants
26    concealed material information and thereby misled investors. (Infra § III.A.1.)
27          Second, Plaintiffs identify no actionable misstatement or omission. Plaintiffs do
28    not even attempt to allege that Defendants misstated DTC’s financial performance,
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1     conceding, as they must, that Defendants accurately disclosed Disney+’s subscriber count
2     and average revenue per user (“ARPU”), and DTC’s operating losses and content spend
3     every quarter. Having accurately disclosed those “hard metrics” to investors, Defendants
4     had no duty to disclose more, which is fatal to Plaintiffs’ claims. Plaintiffs’ alleged
5     misstatements fail for separate, independent reasons. Many are non-actionable because
6     they merely express general corporate optimism (or puffery). Others are non-actionable
7     opinion statements, which Plaintiffs do not plead were disbelieved when made. Others
8     still are forward-looking statements accompanied by meaningful cautionary language,
9     which are non-actionable under the PSLRA’s “safe harbor”. (Infra § III.A.2.)
10          Third, the Ninth Circuit has emphasized that plaintiffs “must plead, in great detail,
11    facts that constitute strong circumstantial evidence of deliberately reckless or conscious
12    misconduct”. In re Hansen Natural Corp. Securities Litigation, 527 F. Supp. 2d 1142,
13    1154 (C.D. Cal. 2007) (citing In re Silicon Graphics Inc. Securities Litigation, 183 F.3d
14    970, 974 (9th Cir. 1999)). Plaintiffs do not come close to satisfying that exacting
15    standard. Plaintiffs allege no facts to show that any Defendant intentionally or with
16    deliberate recklessness hid any material information from investors. Plaintiffs assert that
17    Defendants had access to internal data, but they do not identify any mismatch between
18    what Defendants knew and what they disclosed. The confidential witnesses (CWs) that
19    Plaintiffs offer are long on hindsight critique of the DTC strategy but allege little or no
20    interaction with the Defendants and identify neither concealed nor contradictory
21    information to which any Defendant was privy. And Disney’s compensation structure,
22    Mr. Chapek’s management style, and the departures of Messrs. Chapek and Daniel and
23    Ms. McCarthy are run-of-the-mill corporate occurrences, with some all the more
24    common after a disappointing business downturn. None are strong circumstantial
25    evidence of scienter. (Infra § III.A.4.)
26          Fourth, Plaintiffs have not adequately pleaded loss causation. Plaintiffs allege that
27    the supposed fraud was “corrected” on three dates: November 10, 2021; November 8,
28    2022; and May 10, 2023, when Disney reported quarterly results. But Plaintiffs ignore
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1     that the supposedly revelatory information Plaintiffs identify on these three dates already
2     had been disclosed by Disney months earlier and was therefore neither new nor
3     corrective, which defeats loss causation as a matter of law. (Infra § III.A.5.)
4           Because Plaintiffs fail to plead a predicate violation of § 10(b), their § 20A
5     (Count II) and 20(a) (Count III) claims also should be dismissed. (Infra §§ III.B, III.C.)
6                                I.    FACTUAL BACKGROUND
7           The below facts are those pleaded by Plaintiffs, including from documents the
8     Consolidated Complaint incorporates by reference, or that are subject to judicial notice.
9     Plaintiffs’ well-pleaded facts are accepted as true only for purposes of this motion.
10        A. Disney Extensively Warns Investors About the Risks of Disney+.
11          On August 8, 2017, Bob Iger, then-CEO of Disney, announced that the Company
12    would pivot towards distributing its content via its own DTC streaming services,
13    including Disney+. (Consolidated Complaint (“CC”) ¶ 105.) Even before its launch and
14    continuing ever since, Disney warned investors that its DTC strategy came with
15    significant risk, including that:
16    •      Disney+ would not achieve profitability until five years after its launch and, in the
             interim, would cause Disney to suffer billions of dollars in operating losses;
17
      •     “There can be no assurance that [its] DTC offerings and other efforts will
18          successfully respond to” “shifting patterns of content consumption”;
19    •     Disney “expect[ed] to forgo revenue from traditional sources” in the short term;
20    •     Disney “anticipate[d] an increase in programming and production investments to
            create exclusive content for Disney+”;
21
      •     There was “no assurance that the DTC model and other business models [it] may
22
            develop will ultimately be as profitable as [its] existing business models”;
23    •     “Changes in [Disney’s] business strategy or restructuring of [its] businesses may
24          increase [its] costs or otherwise affect the profitability of [its] businesses”; and
25    •     “[I]nvestments related to direct-to-consumer offerings” “may have short-term
            returns that are negative or low and the ultimate business prospects may be
26          uncertain”. (Ex. 10, 2019 Form 10-K (11/20/19) at 147-50, 179 (“DTC Risk
27          Factors”).)
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1           Disney further warned that the success of DTC distribution (i) “depend[ed] on
2    acceptance of [its] offerings and products by consumers outside the U.S., and their
3    success therefore depends on [its] ability to successfully predict and adapt to changing
4    consumer tastes and preferences outside as well as inside the U.S.”; (ii) Disney “must
5    often invest substantial amounts in film production, television programming, [and] other
6    content production” “before [it] know[s] the extent to which these products will earn
7    consumer acceptance”; and (iii) “[i]f [its] entertainment offerings and products do not
8    achieve sufficient consumer acceptance”, Disney’s “subscription fees” “may decline or
9    fail to grow to the extent [it] anticipate[d] when making investment decisions and thereby
10   adversely affect the profitability of one or more of [its] businesses”. (E.g., Ex. 10, 2019
11   Form 10-K (“10-K”) at 147 (hereafter “Consumer Risk Factors”).)
12          Defendants were upfront with investors about the costs and risks associated with
13   its DTC strategy. Disney reiterated its DTC Risk Factors and Consumer Risk Factors in
14   each and every annual and quarterly report issued during the Class Period. 1
15       B. Confronted with COVID, Disney Aggressively Invests in DTC and Disney+.
16          On November 12, 2019, Disney launched Disney+. (CC ¶ 108.) While Mr. Iger
17   had set an initial target of 60-90 million subscribers and profitability in five years (i.e., by
18   the end of 2024) (id. ¶ 110), Disney+ reached 26.5 million subscribers in only three
19   months. (CC ¶ 106-10.) In February 2020, Mr. Iger disclosed that 20% of the
20   subscribers had signed up through a wholesale deal with Verizon, which offered a “free”
21   year to its customers at no additional cost to them, but for which Disney would receive a
22   fee from Verizon. (Ex. 13, Q1 FY20 Earnings Call (2/4/2020) at 356, 369; Ex. 9, Q4
23   FY19 Earnings Call (11/7/2019) at 102, 116.) Mr. Iger warned that it expected “near
24
     1
       (See Ex. 12, Q1 FY20 Form 10-Q (“10-Q”) (2/4/2020) at 335; Ex. 14, Q2 FY20 10-Q (5/5/2020) at
25   458-461; Ex. 15, Q3 FY20 10-Q (8/4/2020) at 554-57; Ex. 20, 2020 10-K (11/25/2020) at 679-684; Ex.
     27, Q1 FY21 10-Q (2/11/2021) at 1072-75; Ex. 29, Q2 FY21 10-Q (5/13/2021) at 1218-21; Ex. 32, Q3
26   FY21 10-Q (8/12/2021) at 1360-63; Ex. 35, 2021 10-K (11/24/2021) at 1520-25; Ex. 39, Q1 FY22 10-Q
27   (2/9/2022) at 1692; Ex. 43, Q2 FY22 10-Q (5/11/2022) at 1969; Ex. 45, Q3 FY22 10-Q (8/10/2022) at
     2082; Ex. 50, 2022 10-K (11/29/2022) at 2291-94, 2298; Ex. 52, Q1 FY23 10-Q (2/8/2023) at 2502;
28   Ex. 54, Q2 FY23 10-Q (5/10/2023) at 2630.)

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1    term . . . subscriber growth to come primarily from outside the U.S.” (Ex. 13, Q1 FY20
2    Earnings Call, at 363), where it would be “more of a challenge” (id. at 372). Finally, Mr.
3    Iger explained that the DTC transition, including investments in Disney+, would “drive
4    an adverse impact on the year-over-year change in segment operating income of our DTC
5    businesses”, generating “about $900 million in operating losses for the second quarter” of
6    2020 alone. (Id. at 363.)
7          On February 25, 2020, Mr. Iger stepped down as CEO of Disney and transitioned
8    the role to Mr. Chapek. (CC ¶ 111.) Weeks later, COVID-19 struck. The pandemic
9    closed Disney’s theme parks and cruise lines, interrupted its sports programming and
10   other content, and prevented theaters from playing movies. (Id. ¶ 115.) Disney’s
11   common stock hit a low of $79 per share. (Id. ¶¶ 118-19.) With new stay-at-home orders
12   and Disney’s other businesses closed, DTC became a focal point. (Id. ¶ 119.) Yet, just
13   as Mr. Iger had done before, Mr. Chapek continued to disclose DTC and Disney+’s costs,
14   risks and challenges each and every quarter. (See supra § I.A.)
15         On December 10, 2020—the start of the Class Period—Disney held an Investor
16   Day. (CC ¶ 6.) On that date, Disney+ had 86 million subscribers, achieving four years
17   early the 60-90 million subscriber target that Mr. Iger had set the year before. (Ex. 21,
18   2020 Investor Day Tr. (12/10/2020) at 805.) A senior Disney employee announced that
19   “[d]ue to [Disney’s] exceptional performance out of the gate”, its “aspirations” had
20   “grown”. (Id. at 813.) Ms. McCarthy announced that Disney “now expect[ed] that by
21   the end of fiscal 2024, we will have between 230 and 260 million total paid Disney+
22   subscribers globally, compared to the 60 to 90 million we shared last year”, with
23   profitability still expected in 2024. (Id. at 880, 882.) She projected that 30-40% of the
24   subscribers would come from Hotstar, a streaming service based in India, adding that,
25   “ARPU, as we all know, is lower in India than in the other markets that we have launched
26   Disney+”. (Id. at 880, 890.) Ms. McCarthy explained that “this incredible trajectory of
27   our subscriber growth will be fueled by our continued and increased investment in high-
28   quality content”, explaining that “Disney+ content amortization expense” would grow to
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1    “between $8 or $9 billion” by 2024, more than four times earlier spending levels. (Id. at
2    881.) She also explained that Disney expected “reach its peak year of [operating] losses
3    between fiscal 2020 and fiscal 2022”, with losses possibly peaking in fiscal 2021, and
4    would “reinvest revenue generated from [its] better-than-expected subscriber growth
5    back into content investment”. (Id. at 882.)
6       C. Disney Discloses Disney+ Subscriber Counts and ARPU Each and Every
7          Quarter.
8          Disney publicly disclosed Disney+’s subscribers and the average revenue per user
9    (ARPU) each and every quarter, which, as depicted below, clearly demonstrated lower
10   ARPU over time as Disney tried to attract additional subscribers:
11                Quarter Ending                  Disney+ Paid Average Revenue
                                                   Subscribers      Per User (ARPU)
12      March 28, 2020
        (Ex. 14, 5/5/2020 10-Q at 436)             33.5 Million          $5.63
13
        June 27, 2020
14      (Ex. 15, 8/4/2020 10-Q at 531)             57.5 Million          $4.62
15      October 3, 2020
        (Ex. 20, 11/25/2020 10-K at 705-06)        73.7 Million          $4.80
16      January 2, 2021
17      (Ex. 27, 2/11/2021 10-Q at 1056)           94.9 Million          $4.03
        April 3, 2021
18      (Ex. 29, 5/13/2021 10-Q at 1193)          103.6 Million          $3.99
19      July 3, 2021
        (Ex. 32, 8/12/2021 10-Q at 1335)          116.0 Million          $4.16
20
        October 2, 2021
21      (Ex. 35, 2021 10-K at 1539)               118.1 Million          $4.08
        January 1, 2022
22                                                129.8 Million          $4.41
        (Ex. 39, 2/9/2022 10-Q at 1673-74)
23      April 2, 2022
        (Ex. 43, 5/11/2022 10-Q at 1943)          137.7 Million          $4.35
24
        July 2, 2022
25      (Ex. 45, 8/10/22 10-Q at 2056-57)         152.1 Million          $4.35
26      October 1, 2022
        (Ex. 50, 2022 10-K at 2311)               164.2 Million          $4.24
27      December 31, 2022
        (Ex. 52, 2/8/2023 10-Q at 2486-87)        161.8 Million          $3.93
28
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1                     Quarter Ending                      Disney+ Paid        Average Revenue
                                                          Subscribers         Per User (ARPU)
2            April 1, 2023
             (Ex. 54, 5/10/2023 10-Q at 2606)             157.8 Million               $4.44
3
4
     As shown in the chart, Disney disclosed that Disney+’s ARPU had declined from $5.63
5
     as of March 2020 to $3.99 as of April 2021—a year later. Moreover, every quarter
6
     during the Class Period, Disney specifically explained that a “paid subscriber” included
7
     “those who receive the service through wholesale arrangements in which we receive a fee
8
     for the distribution of Disney+ to each subscriber to an existing content distribution tier”
9
     and “whether acquired individually, through a wholesale arrangement or via the bundle,
10
     we refer to them as paid subscriptions”. (Ex. 15, Q3 FY20 10-Q at 531). 2 Disney further
11
     disclosed that “wholesale arrangements have a lower average monthly revenue per paid
12
     subscriber than subscribers that we acquire directly or through third party platforms” and
13
     that, sometimes, as part of a wholesale deal, Disney would be paid a fee while the
14
     subscriber received the service at no additional cost, including with an early promotion
15
     with Verizon. (Ex. 14, Q2 FY20 10-Q at 422) 3 Disney also disclosed revenue impacts
16
     based on pricing differentials in certain countries, explaining that “[t]he average monthly
17
     revenue per paid subscriber for Disney+ Hotstar is significantly lower than the average
18
     monthly revenue per paid subscriber in North America and Europe”. (Ex. 15, Q3 FY20
19
     10-Q at 531; see similar Ex. 27, Q1 FY21 10-Q at 1056; Ex. 29, Q2 FY21 10-Q at 1193;
20
     Ex. 43, Q2 FY22 10-Q at 1944.) Starting in February 2020, Disney disaggregated its
21
     ARPU figures into domestic (U.S. and Canada), International (non-Hotstar) and Hotstar
22
     markets. (Compare Ex. 35, 2021 10-K at 1539 to Ex. 39, Q1 FY22 10-Q at 1673.)
23
24
         2
          (See similar at Ex. 27, Q1 FY21 10-Q at 1056; Ex. 29, Q2 FY21 10-Q at 1193; Ex. 32, Q3
25   FY21 at 1335; Ex. 39, Q1 FY22 10-Q at 1674; Ex. 43, Q2 FY22 10-Q at 1944; Ex. 45, Q3 FY22 10-Q at
26   2057; Ex. 52, Q1 FY23 10-Q at 2487; Ex. 54, Q2 FY23 10-Q at 2606-07.)
         3
27         (See similar at Ex. 27, Q1 FY21 10-Q at 1056; Ex. 29, Q2 FY21 10-Q at 1193; Ex. 43, Q2 FY22
     10-Q at 1944; see also Ex. 13, Q1 FY20 Earnings Call at 356, 370 (referring to subscribers with “free”
28   year for no added cost).)

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1       D. Disney Discloses DTC Operating Losses Each and Every Quarter.
2            Disney also disclosed its quarterly operating losses for its DTC business, which
3    revealed it was recording hundreds of millions, cumulatively billions, of dollars in losses:
4                           Quarter Ending                 DTC Operating Loss
                                                                ($ Millions)
5               March 28, 2020
                (Ex. 26, 2/1/2021 8-K at 1019)                 $805 Million 4
6
                June 27, 2020
7               (Ex. 26, 2/1/2021 8-K at 1019)                  $624 Million
8               October 3, 2020
                (Ex. 26, 2/1/2021 8-K at 1019)                  $374 Million
9               January 2, 2021
10              (Ex. 27, 2/11/2021 10-Q at 1055)                $466 Million
                April 3, 2021
11              (Ex. 29, 5/13/2021 10-Q at 1193)                $290 Million
12              July 3, 2021
                (Ex. 32, 8/12/2021 10-Q at 1335)                $293 Million
13
                October 2, 2021
14              (Ex. 34A, 11/10/2021 8-K at 1480)               $630 Million
                January 1, 2022
15                                                              $593 Million
                (Ex. 39, 2/9/2022 10-Q at 1673)
16              April 2, 2022
                (Ex. 43, 5/11/2022 10-Q at 1942)                $887 Million
17
                July 2, 2022
18              (Ex. 45, 8/10/2022 10-Q at 2056)              $1,061 Million
19              October 1, 2022
                (Ex. 48, 11/8/2022 8-K at 2218)               $1,474 Million
20              December 31, 2022
                (Ex. 52, 2/8/2023 10-Q at 2486)               $1,053 Million
21
                April 1, 2023
22              (Ex. 54, 5/10/2023 10-Q at 2605)                $659 Million
23
24      E. The DMED Reorganization Has No Impact on Disney’s Transparency.

25       4
           Operating losses for the quarters ending March 28, 2020, June 27, 2020 and October 3, 2020 are
     from a Form 8-K issued on February 1, 2021, that explained the DMED reorganization and provided
26   recast metrics to allow for apples-to-apples comparison to future reporting. Under the prior segment
27   organization, the operating losses were $812 million (Ex. 14, Q2 FY20 10-Q at 435); $706 million
     (Ex. 15, Q3 FY20 10-Q at 530; Ex. 16, 8-K (8/4/2020) at 578); and $580 million (Ex. 18, 8-K
28   (11/12/2020) at 607, 610).

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1          Prior to the Class Period, on October 12, 2020, Disney announced a strategic
2    reorganization of its media and entertainment businesses to support its DTC transition.
3    (Ex. 17, Press Release (10/12/2020).) Under the new structure, “distribution and
4    commercialization activities [would] be centralized into a single, global Media and
5    Entertainment Distribution organization” (“DMED”) that would be “responsible for all
6    monetization of content—both distribution and ad sales—and will oversee operations of
7    the Company’s streaming services”. (Id. at 594.) Kareem Daniel, a 14-year veteran of
8    Disney, was announced as the head of DMED. (CC ¶¶ 25, 157.)
9          As the charts above show, Disney continued to disclose the same hard data.
10   Disney also disclosed the impact the DMED reorganization would have on its financial
11   reporting. On February 1, 2021, prior to its first report under the DMED reorganization,
12   Disney disclosed that by contrast to its “previous segment structure”, where it sometimes
13   happened that “production and distribution activities were in different segments”
14   requiring “the producer segment [to] recognize revenue based on an intersegment transfer
15   price”, under the DMED reorganization, “the operating results of the production and
16   distribution activities are reported in the same segment, and the fully loaded production
17   cost will be allocated across the distribution platforms which are utilizing the content”.
18   (Ex. 26, 8-K at 1014.) Disney described the significant operations and major revenue and
19   expense categories for the new segments and, to allow for comparison, disclosed key
20   metrics for 2020 (revenue and segment operating loss) as if DMED had been in place.
21   (Id. at 1015-1020.) In doing so, Disney updated its DTC segment operating losses for
22   2020 to allow for appropriate comparison, as indicated in the table above.
23      F. Mr. Iger Returns as Disney’s CEO and Changes the Business Strategy.
24         On August 11, 2022, Disney issued its third quarter 2022 results, including a
25   quarterly DTC operating loss of $1.1 billion (a year-over-year increase of about $800
26   million from Q3 2021 losses). (Ex. 46, 8-K (8/10/2022) at 2160-63.) Ms. McCarthy
27   explained that “peak losses” would be “in this current fiscal year ‘22”, and that DTC
28   operating losses in the fourth quarter would have a “similar increase year-over-year that
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1    you saw this quarter”. (Ex. 47, Q3 FY22 Earnings Call (8/11/2022) at 2207.) On
2    November 8, 2022, Disney issued its fourth quarter 2022 and annual results, detailing
3    Disney+ paid subscribers and ARPU, and DTC operating loss (Ex. 48, Q4 FY22 8-K
4    (11/8/22) at 2218-22), as it had done every quarter since launch. The announced
5    operating loss of $1.47 billion (a year-over-year increase of ~ $800 million from Q4 2021
6    losses) (CC ¶ 390) was consistent with the prior guidance.
7          On November 20, 2022, Mr. Chapek was terminated and Mr. Iger took the role of
8    CEO. (CC ¶ 11.) Mr. Daniel was terminated the next day. (Id.) Disney disclosed that
9    “with the recent change in leadership, there may be additional adjustments to [its]
10   business strategies” and it “may write-down other assets as [its] strategy evolves to
11   account for the current business environment”. (Ex. 50, 2022 10-K at 2294.) In February
12   2023, Mr. Iger announced a new business strategy to “aggressively curate our general
13   entertainment content”, “reassess all markets we have launched in and also determine the
14   right balance between global and local content”, “adjust [Disney+] pricing strategy”, and
15   “leverag[e Disney’s] legacy distribution platforms for marketing and programming”,
16   including “use of legacy distribution opportunities to increase revenue and more
17   effectively amortize content investment” and a “new organizational structure [to] re-
18   establish the direct link between content decisions and financial performance”. (Ex. 53,
19   Q1 FY23 Earnings Call (2/8/2023) at 2539.) Mr. Iger predicted that DTC still would
20   reach profitability in fiscal 2024, consistent with the prior plan. (Id.) On May 10, 2023,
21   Mr. Iger reiterated his new strategies. (CC ¶ 394.)
22      G. Plaintiffs’ Claims Are Premised on Disney’s Fully Disclosed DTC Strategy.
23         Notwithstanding Disney’s extensive disclosures of the risk of its DTC strategy, its
24   massive investment in the DTC strategy, and the hard data and commentary to show the
25   losses of DTC and Disney+, Plaintiffs contend that Defendants defrauded investors by
26   enacting a deceptive scheme and making misleading statements about the Company’s
27   DTC strategy. Plaintiffs assert that the scheme was revealed to investors on three dates
28   on which Disney’s share price declined: November 11, 2021 (-7.1%); November 9, 2022
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1    (-13.2%); and May 11, 2023 (-8.7%). (CC ¶¶ 383-97.) But all Plaintiffs have alleged is a
2    business strategy that did not succeed. At the end of the Class Period, the industry shifted
3    away from a focus on subscriber growth and, as a result, Disney’s previous strategy no
4    longer was favored by Wall Street. That is not fraud.
5                                     II.     LEGAL STANDARD
6            To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain
7    sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
8    face”. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Securities fraud class actions must
9    meet the higher, exacting pleading standards of Federal Rule of Civil Procedure 9(b) and
10   the Private Securities Litigation Reform Act (PSLRA).” Or. Pub. Emps. Ret. Fund v.
11   Apollo Grp. Inc., 774 F.3d 598, 604 (9th Cir. 2014). Rule 9(b) requires that “a party must
12   state with particularity the circumstances constituting fraud”. Fed. R. Civ. P. 9(b).
13                                          III.   ARGUMENT
14      A. Plaintiffs’ 10(b) Claim (Count I) Fails As A Matter of Law.
15           “To plead a claim under section 10(b) and Rule 10b-5, the Plaintiffs must allege:
16   (1) a material misrepresentation or omission; (2) scienter; (3) a connection between the
17   misrepresentation or omission and the purchase or sale of a security; (4) reliance; (5)
18   economic loss; and (6) loss causation”. Apollo Grp., 774 F.3d at 603. Here, Plaintiffs
19   also try to repackage their run-of-the-mill misstatement theory as a “scheme”. Scheme
20   liability requires a defendant to have “the principal purpose and effect of creating a false
21   appearance of fact in furtherance of the scheme”. In re Edward D. Jones & Co. L.P. Sec.
22   Litig., 2019 WL 5887209, at *7 (E.D. Cal. Nov. 12, 2019), rev’d on other grounds, 990
23   F.3d 692 (9th Cir. 2021) (citing Simpson v. Homestore.com, Inc., 519 F.3d 1041 (9th Cir.
24   2008)). Both theories fail because Defendants did not conceal anything from investors. 5
25              1. Disney Disclosed the Information Plaintiffs Assert Was Concealed.
26           The gist of the Consolidated Complaint is that Disney engaged in business
27       5
           The alleged misstatements are listed in Index A and referenced herein by their accompanying
28   statement number in that Index.

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1    practices—e.g., steering content to Disney+, spending too much on content for Disney+,
2    expanding Disney+ into unprofitable international markets, setting high targets for
3    Disney+ metrics—to increase Disney+ subscribers even at the expense of short-term
4    profits. (E.g., CC ¶¶ 7-12, 43-52, 169-180.) But Disney repeatedly and publicly
5    disclosed that very plan to investors. As a result, Plaintiffs’ claims must fail—“[a]ny
6    fraudulent scheme requires some degree of concealment, both of the truth and of the
7    scheme itself”. In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab.
8    Litig., 2 F.4th 1199, 1205 (9th Cir. 2021).
9          Disney+ Subscriber Targets. Plaintiffs claim that Disney’s Investor Day target of
10   230 to 260 million global subscribers by 2024 was “unattainable”. (CC ¶¶ 122, 147.)
11   But Plaintiffs identify no facts suggesting that the target in fact was not attainable or that
12   any Individual Defendant believed it was not, as must be pleaded to state a claim for
13   securities fraud. In re Leapfrog Enter., Inc. Sec. Litig., 200 F. Supp. 3d 987, 1009 (N.D.
14   Cal. 2016). In fact, Plaintiff’s own confidential witness, CW-1, who apparently assisted
15   in preparing for the Investor Day, confirms that the targets announced at the December
16   2020 Investor Day were taken from Disney’s actual five-year plan. (CC ¶ 35.)
17   Accurately disclosing the current plan to investors is the opposite of securities fraud.
18   CW-1 claims that several months after the Investor Day presentation—in April 2021—
19   the five-year plan changed to show that “Hulu would be profitable one year earlier and
20   Disney+ one year later”. (CC ¶ 37.) But a change in plans in April 2021 cannot render
21   statements made in December 2020 false or misleading, and there is no allegation that
22   Defendants did not believe the statements when made. Metzler, 540 F.3d at 1066 (to
23   plead securities fraud plaintiff must show statements were false or misleading “when
24   made”). Defendants then did not repeat the subscriber predictions until November 2021
25   (CC ¶ 207), long after CW-1 had left the company (CC ¶ 30). CW-1 does not possess
26   knowledge as to the state of the five-year plan when those later statements were made.
27         In all events, Disney disclosed its progress (or lack thereof) in reaching the target
28   every quarter, as well as the risks and obstacles that might cause it to miss the target.
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1    (Supra § I.A.) Thus, Disney gave investors adequate information to determine for
2    themselves whether the goal was attainable (infra § III.A.1.a); that is all the law requires.
3    See In re Nimble Storage, Inc. Sec. Litig., 252 F. Supp. 3d 848, 853 (N.D. Cal.
4    2017) (with accurate hard data, “investors can assess for themselves defendants’
5    statements regarding [market] penetration”). In addition, as described below, subscriber
6    targets are forward-looking statements rendered non-actionable by the PSLRA safe
7    harbor. (Infra § III.A.2.c.)
8          Organization of DMED. Plaintiffs allege that the DMED reorganization was a
9    fraudulent scheme because “the reorganization was actually designed to shift power to
10   Chapek and Daniel”, who used this power to “inflate[] subscriptions at the expense of
11   profitability”. (CC ¶ 307.) That makes no sense. Mr. Chapek was the CEO of Disney
12   and did not need a reorganization to increase his power. Nor was it fraud to appoint
13   Mr. Daniel to head DMED, especially if he was, as Plaintiffs allege, Mr. Chapek’s “most
14   trusted lieutenant”. (CC ¶ 157.) That other people might have made a different choice is
15   not fraud, particularly given Disney’s public disclosure that DMED’s plan was to grow
16   subscriptions at the expense of short-term profitability. (See supra § I.B.)
17         Feature Films. Plaintiffs allege that Disney schemed by “utiliz[ing] DMED to
18   steer feature films to Disney+, bypassing the lucrative theatrical release and pay-per-view
19   windows”. (CC ¶ 128.) But this was no fraudulent scheme; it was an openly disclosed
20   business strategy to invest in DTC and adjust to post-COVID user habits, with Disney
21   expressly telling investors that it would forgo revenue from traditional sources in the
22   short term. (See supra § I.A.) Because the distribution plan was publicly disclosed,
23   Plaintiffs’ allegations that Messrs. Chapek and Daniel “over[ro]de studio executives” at
24   Pixar in reaching that distribution decision (CC ¶ 128), and that Mr. Iger later disagreed
25   with the strategy, simply are not relevant to a fraud claim—“Plaintiffs cannot use the
26   benefit of 20-20 hindsight to turn management’s business judgment into securities fraud”.
27   In re Worlds of Wonder Sec. Litig., 35 F.3d 1407, 1419 (9th Cir. 1994).
28         “Buying” Subscribers. Plaintiffs assert that Chapek and Daniel spent
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1    “unsustainably . . . to buy[] subscribers’”. (CC ¶ 131.) But Defendants repeatedly told
2    investors about Disney’s aggressive content spend, calling it “a lot of money” (CC ¶ 279;
3    see id. ¶¶ 278, 281-82, 284-86; Ex. 28, Q1 FY21 Earnings Call (2/11/21) at 1136), and
4    disclosing the actual amount spent each quarter (Ex. 21, 2020 Investor Day at 881; Ex.
5    35, 2021 10-K at 1503, 1535, 1541 (disclosing and explaining “programming and
6    production costs”); Ex. 50, 2022 10-K at 2275, 2306, 2312 (same)). Indeed, on the first
7    day of the Class Period, Defendants told investors that their previous estimate of content
8    spend for fiscal 2024 (of about $2 billion) would roughly quadruple (to between $8 and
9    $9 billion) due to investments in Disney+. (Ex. 21, 2020 Investor Day at 881.)
10   Defendants continued to warn about content costs throughout the Class Period, stating
11   “we are increasing our overall long-term content expense for Disney+”, particularly
12   “towards the second half of fiscal ‘22” (CC ¶¶ 283-84), and that “it’s all about content,
13   content, content” (CC ¶ 285). The disclosures were clear, and Plaintiffs do not allege that
14   the reported figures were inaccurate. (See CC ¶ 195.) The gist of Plaintiffs’ claim is that
15   Defendants took a “content-at-all-costs” approach. (CC ¶¶ 171-180, 307.) Plaintiffs
16   might disagree with that decision, but it is not fraud. In re ICN Pharms., Inc., Sec. Litig.,
17   299 F. Supp. 2d 1055, 1065 (C.D. Cal. 2004) (“a bad business decision” alone does not
18   state a claim for securities fraud).
19         Plaintiffs further allege that Disney underrepresented its spending by means of a
20   cost accounting model under which it amortized content expense over many years. (CC
21   ¶ 132.) Yet Disney fully disclosed its accounting practices, including amortization—
22   which are standard in the industry. (See, e.g., Ex. 8, 2019 Investor Day (4/11/2019) at 82
23   (stating “roughly 80% to 90% of the content investment [would be] amortized within the
24   first 4 years”); Ex. 35, 2021 10-K at 1538, 1541 (describing amortization practices);
25   Ex. 50, 2022 10-K at 2306, 2310, 2313 (similar).)
26         Discounts and Promotions. Plaintiffs assert that “costly promotions that handed
27   consumers heavily discounted subscriptions” were part of a deceptive scheme. (CC
28   ¶ 135.) Plaintiffs also claim that Disney misleadingly used the term “paid subscriber” to
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1    count subscribers who received the service through a discount or promotion. (CC ¶¶ 182,
2    276.) Yet again, Disney repeatedly disclosed exactly what Plaintiffs say was hidden—
3    that it had a mix of subscribers, some who purchased Disney+ directly, some who
4    purchased it through a bundle, and some who obtained it via wholesale arrangements
5    with third parties. (See Ex. 27, Q1 FY21 10-Q at 1056 (“[w]hen we aggregate the total
6    number of paid subscribers across our DTC services, whether acquired individually,
7    through a wholesale arrangement or via the bundle, we refer to them as paid
8    subscriptions”); see supra § I.C.) Disney also disclosed that bundle and wholesale
9    subscribers had a lower ARPU and that, sometimes, subscribers would receive Disney+
10   from third parties for no additional charge from a third-party. (See id.) But what
11   Plaintiffs describe as a “gift” of free Disney+ from the Company to Hulu+ Live TV
12   subscribers (CC ¶ 136) was actually a new bundle created by Disney, with a concomitant
13   price increase. (See Ex. 40, 8-K (2/9/2022) at 1834-35.)
14         International Markets. Each challenge that Plaintiffs reference with the Disney+
15   international expansion—(i) lower ARPU, (ii) increased marketing costs, (iii) content
16   bans and (iv) higher costs (CC ¶¶ 197-200)—was disclosed to investors. (E.g., Ex. 14,
17   Q2 FY20 10-Q at 422; Ex. 32, Q3 FY21 10-Q at 1336; Ex. 55, Q2 FY23 Earnings Call
18   (5/10/2023) at 2697-99.) Disney reported that Disney+ Hotstar subscriptions brought in
19   around $1 revenue per subscriber while others brought in over $6 per subscriber. (See
20   Ex. 43, Q2 FY22 10-Q at 1943.) Plaintiffs also allege that Defendants concealed that
21   subscriber growth “had stalled”, and that “further international subscriber growth” would
22   be an “unprofitable” way to grow subscribers. (CC ¶ 302.) Yet again, Defendants
23   disclosed exactly what Plaintiffs contend was concealed. Disney reported its Disney+
24   subscriber numbers each and every quarter, including disaggregated domestic and
25   international subscribers (the accuracy of which Plaintiffs do not dispute), such that
26   investors could determine subscribers and associated revenue in each market. (See supra
27   § I.C.) “Plaintiffs’ omissions theory fails to state a claim because the Defendants clearly
28   disclosed material information”. Apollo Grp., 774 F.3d at 607 (dismissing claim
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1    regarding recruitment of flawed students when “[p]ublic filings” showed marketing
2    spending, target students, enrollment numbers and withdrawal rates.)
3          Disney+ “On Track”. Plaintiffs cite allegedly “artificial assurances” regarding
4    both subscriber growth and profitability targets for 2024. (CC ¶¶ 209-212.) But these
5    were not assurances—they were statements of corporate optimism offered in connection
6    with the explicitly disclosed metrics of quarterly subscriber growth. (Infra § III.A.2.b.)
7    Plaintiffs fail to allege how these supposed assurances could mislead because they plead
8    no facts that could show them to be false. (Infra § III.A.2.a.) Nor do Plaintiffs allege any
9    facts suggesting Defendants did not believe these targets would be met. (Id.) In fact,
10   Disney never issued a different Disney+ profitability target and predicts, even now, that
11   DTC will be profitable in 2024. (Ex. 57, Q4 FY23 Earnings Call (11/8/23) at 2801.)
12         “Accounting Manipulations”. Despite Disney’s consistent disclosure of massive
13   DTC operating losses, Plaintiffs assert that Disney used “accounting manipulations” to
14   conceal Disney+ costs. Plaintiffs do not allege any GAAP violations or accounting
15   errors, and the assertions they do make fail.
16         First, Plaintiffs criticize Defendants for failing to “disclose any further details” or
17   “break out the exact financial impact of the DMED reporting change”. (CC ¶ 218.) But
18   Disney fully explained the reporting change in a February 1, 2021 8-K—prior to
19   implementing it. (Supra § I.D, E.) Disney even recast its key 2020 DTC metrics as if
20   DMED had been in place to allow for appropriate comparison. (Id.) Disney also
21   explained the impact of the change on Disney’s operating metrics—“the majority of the
22   variance relates to the elimination of intersegment pricing markups under our new
23   financial reporting structure”—which is what Plaintiffs themselves now rely upon to
24   demonstrate the impact of the change. (CC ¶ 216 & n.14-17; id. ¶¶ 218, 289.) Nothing
25   was hidden from investors and, thus, there can be no fraud.
26         Second, Plaintiffs assert that Defendants should have disclosed “the impact of the
27   reporting change on the operating results or content costs at the Disney+ level”. (CC
28   ¶ 218.) Plaintiffs provide no support for that assertion, failing to allege that Disney’s
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1    disclosures violated any reporting requirement or GAAP principle, and failing to show
2    how the change could have misled investors. Nor could they, in light of Disney’s
3    thorough disclosure regarding the impact of the reorganization. (Supra § I.D, E.)
4          Third, Plaintiffs allege that Defendants concealed the content production costs by
5    amortizing those costs over several years. (CC ¶ 287(d).) But that amortization practice,
6    too, was disclosed. (See supra § III.A.1 at 15-16.) Plaintiffs “must show with
7    particularity how the adjustments affected the company’s financial statements and
8    whether they were material in light of the company’s overall financial position”. Apollo
9    Grp., 774 F.3d at 609. They do not, and thereby fail to allege fraud.
10         Fourth, Plaintiffs assert that Defendants “artificially shifte[d] content and
11   marketing costs from Disney+ to other divisions” by airing content on legacy channels
12   first. (CC ¶ 222.) Not only is that assertion contrary to Plaintiffs’ other allegations—
13   where, for example, they fault Defendants for being “too eager to send films directly to
14   streaming” (CC ¶ 166)—Plaintiffs do not explain what was “artificial” or how this
15   practice misled investors. Rather, consistent with Plaintiffs’ account of Disney’s
16   “internal” policy (CC ¶ 223 n.20), Disney publicly disclosed that, under DMED, “the
17   fully loaded production cost will be allocated across the distribution platforms which are
18   utilizing the content”. (Ex. 26, 8-K at 1014.) Where to debut content (and for what
19   reason) is a business decision, and Plaintiffs do not explain why choosing one platform
20   over another to achieve Disney’s overall objectives is wrongful, or how it possibly could
21   be fraudulent. Plaintiffs’ contradictory, conclusory—and, frankly, confused—allegations
22   fail. Apollo Grp., 774 F.3d at 602 (accounting not misleading without showing that
23   “numbers were incorrect or misstated”).
24         Churn. Disney did not conceal that it experienced churn—which is monitored and
25   reported by third parties. (CC ¶¶ 224, 226, 312(a).) Plaintiffs challenge two main
26   statements concerning Disney+ churn, namely that (i) as of June 14, 2021, churn was not
27   “significantly higher” following a price increase (Stmt. 78), and (ii) as of August 12,
28   2021, “churn ha[d] declined” (Stmt. 79). Plaintiffs plead no facts suggesting those
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1    statements were false. Plaintiffs cite a Wall Street Journal article from August 2022
2    reporting that Disney’s churn rate was higher in June 2022 (Q2 2022) than it had been in
3    June 2021 (Q2 2021) (CC ¶ 312(a)), which tends to (i) confirm (rather than undermine)
4    Disney’s disclosure that, as of June 2021, churn had not significantly increased; and
5    (ii) says nothing about whether churn had declined as of August 2021. Similarly,
6    Plaintiffs’ unsourced statement that monthly churn increased from 3.75% to 4.25%
7    between 2021 and 2022 (CC ¶ 312(a)) does not undermine Disney’s statements about its
8    churn as of 2021. Plaintiffs’ real gripe seems to be that Disney did not publicly disclose
9    its specific churn rates each quarter. (CC ¶ 143-44.) But Defendants had no obligation to
10   do so. In re NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1054 (9th Cir. 2014) (Securities
11   laws do not “create[] an affirmative duty to disclose any and all material information”)
12   (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37 (2011)).
13                                               ***
14         Whether labeled as a scheme or series of misstatements, Plaintiffs’ fraud claim
15   relies entirely on allegedly concealed information that Defendants repeatedly and
16   consistently disclosed to investors, which causes the claim to fail as a matter of law.
17             2. Plaintiffs’ Alleged Misstatements Are Non-Actionable.
18         Plaintiffs litter their 200-page Complaint with blocks of bolded and italicized text,
19   which purportedly form the basis of their claims. But, as shown in the previous section,
20   Plaintiffs fail to allege with particularity that any public statement was false or
21   misleading. That alone is dispositive. In addition, each of the statements is non-
22   actionable for independent reasons—Defendants had no duty to disclose more than they
23   did; the statements are puffery; the statements are forward-looking statements protected
24   by the PSLRA’s safe harbor; and the statements are opinions.
25                          a. Having Accurately Disclosed “Hard Data”, Defendants Had No
26                              Duty To Disclose Additional Information.
27         “Section 10(b) and Rule 10b-5 ‘do not create an affirmative duty to disclose any
28   and all material information’”. Weston Fam. P’ship LLLP v. Twitter, Inc., 29 F.4th 611,
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1    620 (9th Cir. 2022) (quoting Matrixx, 563 U.S. at 44). Companies have no obligation to
2    “disclose a negative internal development [unless] its omission would make other
3    statements materially misleading”. Id. In other words, “[t]here is no rule [] that ‘once a
4    disclosure is made, there is a duty to make it complete and accurate’”. Lefter v. Yirendai
5    Ltd., 2017 WL 2017 WL 2857535, at *6 (C.D. Cal. 2017) (quoting Brody v. Transitional
6    Hosp. Corp., 280 F.3d 997, 1006 (9th Cir. 2002)). Such “a completeness rule would
7    sweep too broadly, as ‘no matter how detailed and accurate disclosure statements are,
8    there are likely to be additional details that could have been disclosed but were not’”. Id.
9    If a company provides accurate information to investors that does not mislead, it has no
10   duty to provide anything more. Id.
11         Here, Plaintiffs do not contest the accuracy of Defendants’ disclosures concerning
12   DTC’s financial performance. Nor could they. Each and every quarter since its launch,
13   Disney accurately disclosed Disney+’s paid subscriber numbers and ARPU, as well as
14   the DTC segment’s revenues, operating expenses and operating losses. (Supra § I.C, B.)
15   Because those disclosures are extensive, accurate and not misleading—and because
16   Defendants have maintained their prediction of DTC profitability by fiscal 2024—
17   Defendants had no duty to disclose the litany of peripheral information in the
18   Consolidated Complaint. In re Cutera Sec. Litig., 610 F.3d 1103, 1109 (9th Cir. 2010)
19   (“Rule 10b-5 [prohibits] only misleading and untrue statements, not statements that are
20   incomplete”).
21                          b. Plaintiffs’ Challenged Statements Are Non-Actionable Puffery.
22         “[V]ague statements of optimism like good, well-regarded, or other feel good
23   monikers” cannot form the basis for securities liability because investors “know how to
24   devalue the optimism of corporate executives”. Police Ret. Sys. of St. Louis v. Intuitive
25   Surgical, 759 F.3d 1051, 1060 (9th Cir. 2014). Plaintiffs challenge numerous vague
26   expressions of optimism, including that Defendants were “pleased” or “happy” with
27   Disney+, that Disney’s DTC business had “robust” or “solid” performance, and that the
28   Company was “confident” in its strategy, including its “exceptional” leadership. Such
                                                 -19-
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1    “optimistic, subjective assessment[s] hardly amount[] to a securities violation”. In re
2    Cutera, 610 F.3d at 1109; see also Barnes v. Edison Int’l, 2021 WL 2325060, at *9 (C.D.
3    Cal. Apr. 27, 2021), aff’d, 2022 WL 822191 (9th Cir. Mar. 18, 2022) (holding language
4    that “vaguely refer[ed] to . . . prioritization, improvement, and funding of safety
5    procedures” was nonactionable puffery).) Examples of obvious puffery include:
6    Optimism Regarding Subscribers (See Stmts. 1, 2, 3, 6, 12-14, 16-18, 24-25, 27, 31,
7    36-39, 55):
8    “Disney+ . . . ha[s] performed incredibly well, with 116 million . . . subscribers”;
     “[S]ubscriber growth was also solid at our core Disney+ markets”;
9
     “[W]e are extremely pleased with the success of our portfolio of streaming services [that]
10   continue to perform incredibly well”;
11   “Overall, we are pleased with Disney+ subscriber growth in the quarter”;
12   “The growth of the platform since its launch reinforces its unique nature”;
13   “And significant subscriber growth at our streaming services, which added 15.5 million
     subscriptions in the quarter”;
14
     “Strong Disney+ core net subscriber additions 6 million reflect growth”;
15
     “It has taken just 3 short years for Disney+ to transform from a nascent business to an
16   industry leader”.
17
     Optimism Regarding the Quality of Disney+ Content (See Stmts. 17, 44, 48, 52-53):
18   “Disney+ subscribers around the world enthusiastically embraced Pixar’s Academy
19   Award-winning ‘Soul’ and the critically-acclaimed ‘Luca’”;

20   “And taking a wonderful family film like Luca in the middle of summer and putting that
     direct on the service will have sort of a similar impact like we saw when we did Soul
21   back at the holiday time, and that was a huge boost to Disney+”;
22   “Encanto became a phenomenon within days of its arrival on Disney+”;
23   “And that’s the thing that pleases me the most out of everything that came out of Disney+
     Day is the quality and the resonance of everything across all of our different brand
24   platforms, how great it is”.
25
     Optimism Regarding Content (See Stmts. 12, 14, 38, 17, 41-43, 46-50, 54-56):
26   “[C]onsumer behavior really does drive our decision-making” and “the rapid growth of
27   our portfolio of D2C services provides us with an even greater opportunity to understand
     their preferences . . . to help determine how to optimally engage with our audiences”;
28
                                                 -20-
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1    “[T]he actual content that’s pouring out and the amount of content that’s pouring out, we
     think that we’re tremendously positioned for the future of DTC services”;
2
     “First of all is our content slate. As you know, we’re spending a lot of money across our
3    variety of franchises in order to create the content that’s going to keep consumers coming
     back and keep not only our sub number growing but also our engagement growing across
4
     all of our platforms”;
5    “[W]e really tailor our content in terms of the number of active hours that are needed to
6    maintain healthy engagement”;
7    “Our robust pipeline of content continues to fuel growth, and we have an incredible line-
     up of new programming for Disney+”.
8
     Optimism Regarding International Expansion (See Stmts. 18, 65, 68-70):
9
     “We also saw strong additions to our subscriber base from our November launch”;
10
     “So our retention is very healthy across the globe. We’re really, really pleased”.
11
     Optimism Regarding Churn (See Stmts. 65, 77-80):
12
     “[I]n terms of the health of Disney+, we feel really great about our sub trajectory”;
13   “So the fact that our churn is so low, our engagement is so high, our retention is so high
14   amongst the local quarters where we’re taking price increases, I think, says everything
     about it”;
15
     “So in regard to the specific churn related to the anniversary of the Verizon launch
16   promotion from last November 2020, we’re really happy with the conversion numbers
17   that we have seen there going from the promotion to become paid subscribers”;

18   “We’re really pleased with churn”;
     “[W]e’re extraordinarily pleased with the low churn that we see”.
19
20   Optimism Regarding DMED (See Stmts. 41, 58, 72-76):
     “While we have always valued the data gained through our numerous consumer touch
21   points, the rapid growth of our portfolio of D2C services provides us with an even
22   greater opportunity to understand their preferences . . . . In fact, our team uses all of the
     information available to us when determining how best to allocate our creative content
23   budgets across all platforms”;
24   “I’m 100% confident that this is going to play out exactly as we had intended. It’s going
25   extremely well. And despite the disruption in everyone’s roles, I think we have 100%
     buy-in”.
26
     Optimism Regarding Executive Leadership (See Stmts. 72, 81):
27
     “Kareem is an exceptionally talented, innovative and forward-looking leader, with a
28   strong track record”;
                                                  -21-
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1    “I can think of no one better suited to lead this effort than Kareem”;
     “Disney was dealt a tough hand by the pandemic, yet with Bob at the helm, our
2
     businesses—from parks to streaming—not only weathered the storm, but emerged in a
3    position of strength”.
4          Courts have routinely dismissed challenged statements with almost identical
5    general and optimistic wording. In Macomb Cnty. Employees’ Ret. Sys. v. Align Tech.,
6    Inc., the Ninth Circuit held that “vague, generically positive terms, describing China as ‘a
7    great growth market,’ ‘a huge market opportunity,’ ‘a market that’s growing significantly
8    for us,’ and possessing ‘really good dynamics,’ and describing Align’s performance there
9    as ‘tremendous’ and ‘great’” were inactionable puffery. 39 F.4th 1092, 1098 (9th Cir.
10   2022); see also In re Cornerstone Propane Partners, L.P. Sec. Litig., 355 F. Supp. 2d
11   1069, 1087 (9th Cir. 2005) (holding that “excellent results”, a “blowout winner” product,
12   “significant sales gains”, and “10% to 30% growth rate over the next several years” were
13   puffery); Wozniak v. Align Tech., Inc., 850 F. Supp. 2d 1029, 1036 (N.D. Cal. 2012)
14   (finding statements that “[w]e are very pleased with the learning from our pilot launch”,
15   “we are very pleased with our progress” and “everything is clicking” were puffery).
16   Courts have likewise found that statements about a focus on consumers or the fit of
17   leaders to be non-actionable puffery. See Scheller v. Nutanix, Inc., 450 F. Supp. 3d 1024,
18   1038 (N.D. Cal. 2020) (statements that company had “a relentless focus on our
19   customers” and “[d]emand for our solutions remains strong” were puffery); Gammel v.
20   Hewlett-Packard Co., 905 F. Supp. 2d 1052, 1071 (C.D. Cal. Aug. 29, 2012) (statements
21   regarding company’s “position[ing] the right leaders in the right roles to accelerate the
22   long-term growth of webOS” were puffery).
23                          c. Plaintiffs’ Challenged Statements Are Forward-Looking
24                             Statements Accompanied by Meaningful Cautionary Language
25         Even if a statement would otherwise be actionable, the PSLRA provides a safe
26   harbor for forward-looking statements. 15 U.S. Code § 78u–5. It “is designed to protect
27   companies and their officials when they merely fall short of their optimistic projections”.
28   Gregory Wochos v. Tesla, Inc., 985 F.3d 1180, 1189 (9th Cir. 2021). “[A] defendant will
                                                 -22-
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1    not be liable for a false or misleading statement if it is forward-looking and either is
2    accompanied by cautionary language or is made without actual knowledge that it is false
3    or misleading”. Id. at 1190. Forward-looking statements include “(A) a statement
4    containing a projection of revenues, income” “or other financial items; (B) a statement of
5    the plans and objectives of management for future operations”; “(C) a statement of future
6    economic performance”; and “(D) any statement of the assumptions underlying or
7    relating to [the above]”. 15 U.S.C. § 78u-5(i)(1)(A-D).
8          Future Disney+ Subscribers & Profitability: Plaintiffs challenge nearly a dozen
9    forward-looking statements indicating that Disney is “on track”, “on the right trajectory”,
10   “well suited” to or “expects” to meet its 230-260 million subscriber and profitability
11   goals by 2024. (Stmts. 1, 4, 5, 7-17, 37, 49, 55.) The Ninth Circuit recently held that
12   statements that a company “was ‘on track’ to achieve [such] goals, and that ‘there are no
13   issues’ that ‘would prevent’ [the company] from achieving the goal[s] are likewise
14   forward-looking statements”. Tesla, 985 F.3d at 1192. So, too, here.
15         Future Content Expansion: Plaintiffs challenge statements that Disney was
16   “looking forward to new market launches and a strong content slate later this year”;
17   “expect[s] Disney+ core net additions in the fourth quarter to accelerate modestly”; has a
18   “goal [of] something new every week”; and expects that Luca—“a wonderful family
19   film”—will get “a lot of people enjoying it as we put it on the service for free this
20   summer”. (Stmts. 12, 14, 17, 43-45, 48-52, 54-56.) Those statements are “plans and
21   objectives of management for future operations” protected by the PSLRA. 15 U.S.C. §
22   78u-5(i)(1).
23         Future International Expansion: Plaintiffs also challenge forward-looking
24   statements of future plans and objectives for Disney+’s expansion in international
25   markets, including that it “plan[s] to bring Disney+ to consumers in 50-plus additional
26   countries”; that the “number of markets that we’re going to add will essentially double to
27   more than 160 by FY’23”; and that “we are equally enthusiastic about our growth
28   potential in international markets”. (Stmts. 10, 66-70, 72, 73.) Those statements are non-
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1    actionable forward-looking plans and objectives for future operations.
2           Meaningful Cautionary Language: Each of those forward-looking statements was
3    accompanied by specific and meaningful cautionary language. During each earnings call,
4    Disney disclosed that “expected results, growth, profitability”, “statements regarding the
5    future of our offerings (including our direct-to-consumer offerings) including content,
6    launch dates and timing”, and “expectations about general markets, markets we may
7    serve and our potential customers or subscribers” constitute forward-looking statements,
8    which “are subject to risks and uncertainties and actual results might differ materially
9    from those discussed in, or implied by, the forward-looking statements”. (See, e.g.,
10   Ex. 13, Q1 FY20 Earnings Call at 380 (“[l]et me also remind you, certain statements on
11   this call, including financial estimates may constitute forward-looking statements under
12   the securities laws”).) Disney also directed investors to its SEC filings containing
13   detailed cautionary language that “identif[ied] important factors that could cause actual
14   results to differ materially from those in the forward-looking statement[s]”. (15 U.S.C. §
15   78u-5(c)(1)(A)(i); see Ex. 13, Q1 FY20 Earnings Call at 380. 6) Those warnings are
16   meaningfully cautionary because they convey the substantive information about factors
17   that could realistically cause results to differ materially from those projected in the
18   forward-looking statements. See In re Cutera, 610 F.3d at 1112.
19                            d. Plaintiffs’ Challenged Statements Are Non-Actionable Opinion.
20          Many of Plaintiffs’ challenged statements express opinions, which are not
21   actionable unless the plaintiff alleges—and these Plaintiffs have not—“both that ‘the
22   speaker did not hold the belief she professed’ and that the belief is objectively untrue”,
23   or, in the case of a purported omission from the opinion, that “there is no reasonable basis
24
25   6
       (See similar cautionary language, Ex. 13, Q1 FY20 Earnings Call (2/4/2020) at 380; Ex. 21, Disney
     Investor Day Presentation (12/10/2020) at 805, 900; Ex. 30, Q2 FY21 Earnings Call (5/13/2021) at
26   1263-65; Ex. 31, JPM Conference Call, 5/24/2021 at 1289; Ex. 33, Goldman Sachs Communacopia
     Conference (9/21/2021) at 1441; Ex. 34, Q4 FY21 Earnings Call (11/10/2021) at 1472-73; Ex. 41, Q1
27   FY22 Earnings Call (2/9/2022) at 1876-78; Ex. 42, Morgan Stanley Technology, Media and Telecom
28   Conference (3/7/2022) at 1881; Ex. 44, Q2 FY22 Earnings Call (5/11/2022) at 2012-2013; Ex. 47, Q3
     FY22 Earnings Call (8/11/2022) at 2201); Ex. 49, Q4 FY22 Earnings Call (11/8/2022) at 2266-68.)
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1    for the belief”. City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align Tech.,
2    Inc., 856 F.3d 605, 615-16 (9th Cir. 2017). Many of Plaintiffs’ challenged statements are
3    “vague” assurances reflecting the Defendants’ “subjective assessments”, which “hardly
4    amount[] to a securities violation”. In re Cutera, 610 F.3d at 1111.
5    Opinions of Optimism on Disney+ (See Stmts. 27, 42, 48):
6    “We are extremely pleased with the success of our portfolio of streaming”;
     “We think that we’re tremendously positioned for the future of DTC services”;
7
     “[W]e’re confident about delivering in the long term”.
8
9    Opinions on Subscriber and Profitability Targets (See Stmts. 1, 6-8, 10, 11-12, 14-17,

10   19, 27, 31, 38, 49, 55-56):
     “We’re incredibly confident that we will achieve the long-term guidance”;
11
     “[W]e feel really great about our sub[scriber] trajectory”;
12
     “[W]e’re confident we are on the right trajectory to achieve the guidance”;
13   “We’re very confident that even if we were not to go ahead and win that auction that we
14   would still be able to achieve our 230 to 260” target;
15   “[W]e believe we are well suited to achieve the subscriber guidance as well as the
     profitability guidance”;
16
     “Overall, we are pleased with Disney+ subscriber growth in the quarter”;
17
     “[W]e believe we are well positioned to achieve the subscriber target of 230 to 260
18   million by fiscal 2024 that we laid out at last year’s Investor Day”;
19   “[W]e still expect Disney+ to achieve profitability in fiscal 2024, as losses begin to shrink
     in the first quarter of fiscal 2023”.
20
21   Opinions on Disney+ Content & Growth (See Stmts. 12, 14, 17, 38, 42, 48-50, 54-56,

22   65, 66, 70):
     “[W]e’re pretty confident that the increase in content flow towards the second half of
23   fiscal ’22 will actually lead to the types of results that we’re anticipating”;
24   “I think that will give us the impetus to increase that price value relationship even higher.
25   . . . And we are bullish about our future content going forward”;

26   “We are particularly pleased with growth in the fourth quarter”;
     “[W]e believe that great content is going to drive our sub[scribers], and those
27
     sub[scribers] then in scale will drive our profitability”;
28   “[W]e are equally enthusiastic about our growth potential in international markets”.
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1    Opinions on Disney+ Churn (See Stmts. 65, 77, 79-80):
2    “We’re really, really pleased with” our retention;
     “We’re really happy with the conversion numbers that we have seen there going from the
3
     [Verizon] promotion to become paid subscriber”;
4    “We’re really pleased with churn”;
5    “We’re extraordinarily pleased with the low churn that we see”.
6
     Opinions on DMED and Appointment of Mr. Daniel (See Stmts. 72-74, 76):
7    “Kareem is an exceptionally talented, innovative and forward-looking leader, with a
8    strong track record for developing and implementing successful global content
     distribution and commercialization strategies”;
9
     “I can think of no one better suited to lead this effort than Kareem”;
10   “I’m 100% confident that this is going to play out exactly as we had intended”; “[W]e’re
11   seeing the advantages in this dynamic fast-moving world that we’re competing in”.
12            3. Plaintiffs’ Claims Against Mr. Iger Are Particularly Deficient.
13         Plaintiffs’ claims against Mr. Iger are particularly lacking. Plaintiffs make no
14   attempt to allege that Mr. Iger participated in any alleged scheme. (See, e.g., CC ¶¶ 6, 27,
15   147-228 (limiting scheme allegations to Mr. Chapek, Mr. Daniel and Ms. McCarthy).)
16   Plaintiffs have not pleaded that Mr. Iger made any misleading statement. (See CC
17   ¶¶ 266-316.) Nor have they pleaded that Mr. Iger controlled the content of any of the
18   alleged misstatements, which means he cannot be liable for them. Janus Capital Group
19   Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011) (“the maker of a statement is
20   the person or entity with ultimate authority over the statement”). Plaintiffs plead nothing
21   as to Mr. Iger, which makes the claims against him particularly deficient. See In re
22   Hansen, 527 F. Supp. 2d at 1153 (rejecting “group pleading” with “no specific
23   allegations that [individual defendants] played any role whatsoever in the preparation or
24   dissemination of any allegedly false statements”).
25            4. Plaintiffs Fail to Plead Scienter.
26         The complaint must allege “with particularity facts giving rise to a strong inference
27   that the defendant acted with the required state of mind”. 15 U.S.C. § 78u-4(b)(2)(A).
28   “Where, as here, the Plaintiffs seek to hold individuals and a company liable on a
                                                 -26-
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1    securities fraud theory, [courts] require that the Plaintiffs allege scienter with respect to
2    each of the individual defendants”. Apollo Grp., 774 F.3d at 607. “Mere negligence—
3    even head-scratching mistakes—does not amount to fraud”. Prodanova v. H.C.
4    Wainwright Co., LLC, 993 F.3d 1097, 1103 (9th Cir. 2021). To support a strong
5    inference of scienter, a complaint must allege an “intent to deceive, manipulate, or
6    defraud”, or “deliberate recklessness”. City of Dearborn, 856 F.3d at 619. “Deliberate
7    recklessness is not mere recklessness”. Prodanova, 993 F.3d at 1106. Rather, it is “an
8    extreme departure from the standards of ordinary care . . . which presents a danger of
9    misleading buyers or sellers that is either known to the defendant or is so obvious that the
10   actor must have been aware of it”. Id. (emphases in original). This “present[s] no small
11   hurdle for the securities fraud plaintiff”. Schueneman v. Arena Pharms., Inc., 840 F.3d
12   698, 705 (9th Cir. 2016). “[A] securities fraud complaint will survive a motion to dismiss
13   ‘only if a reasonable person would deem the inference of scienter cogent and at least as
14   compelling as any opposing inference’”. Zucco Partners, LLC v. Digimarc Corp., 552
15   F.3d 981, 991 (9th Cir. 2009) (citing Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S.
16   308, 310 (2007)).
17         Plaintiffs fail that high bar; indeed, as explained above, Plaintiffs fail to plead any
18   actionable misstatement or omission at all. Disney’s “[r]obust disclosure of risks and
19   problems further negates an inference that the company acted with intent to
20   defraud”. City of Roseville Employees’ Ret. Sys. v. Sterling Fin. Corp., 963 F. Supp. 2d
21   1092, 1142 (E.D. Wash. 2013); Scripsamerica, Inc. v. Ironridge Global LLC, 56 F. Supp.
22   3d 1121, 1165 (C.D. Cal. 2014). None of Plaintiffs’ alleged bases for scienter, taken
23   either alone or together, satisfies the PSLRA’s stringent standards.
24         Internal Data. Plaintiffs allege that Defendants had access to “internal data” on
25   key topics like “profitability, user engagement, and churn”. (CC ¶ 318; ¶¶ 26-27.) But
26   “mere access to reports . . . is insufficient to establish a strong inference of scienter”.
27   Intuitive Surgical, 759 F.3d at 1063. Pleading scienter based on “the existence of internal
28   reports” requires “at least some specifics from those reports as well as such facts as may
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1    indicate their reliability”. Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1036 (9th Cir.
2    2002). Plaintiffs do not allege any specific information provided to any Individual
3    Defendant and do “not detail the actual contents of the reports the executives purportedly
4    referenced or had access to”. Intuitive Surgical, 759 F.3d at 1062-63. Plaintiffs do not
5    even allege facts suggesting that Defendants made public statements that differed from
6    the internal reports they might have received, which is a dispositive failing. See, e.g., In
7    re NVIDIA, 768 F.3d at 1059 (scienter established only if contemporaneous internal data
8    contradict the allegedly misleading statements).
9          Plaintiffs’ allegations about Disney’s five-year plan for Disney+ are particularly
10   dispositive of their claims. According to Plaintiffs, Disney’s initial five-year-plan
11   confirmed that Disney+ was expected to achieve profitability in 2024, which is what
12   Defendants reported to the market in December 2020, and is in line with what Disney
13   predicts today for DTC. (CC ¶ 36; Ex. 57, Q4 FY23 Earnings Call at 2801.) The only
14   confidential witness Plaintiffs allege to have had any personal knowledge of the five-year
15   plan (CW-1) left the Company mid-2021—before any of the alleged misstatements
16   regarding the Disney+ 2024 profitability prediction. (CC ¶ 30.) Such allegations are
17   insufficient to plead a strong inference of scienter. See Digimarc, 552 F.3d at 997-98.
18         Temporal Proximity. Plaintiffs seek to infer scienter based on “ dramatic
19   streaming losses, subscriber miss, firing of top executives, and decision to scrap
20   Mr. Chapek’s growth-at-any-cost model” that “occurred just months after Defendants
21   reiterated their subscriber and profitability targets”. (See CC § 338.) But “[m]ere
22   temporal proximity between positive statements stressing a firm’s strengths and
23   announcements of poor economic performance, without more, do[es] not create an
24   inference that the earlier statements were fraudulent”. Yourish v. California Amplifier,
25   191 F.3d 983, 997 (9th Cir. 1999). That is particularly true, where, as here, the operating
26   losses and subscriber figures were fully disclosed each quarter and the only change was a
27   business decision to pivot away from the subscriber-growth-as-the-priority business plan,
28   which occurred across the industry. (See Ex. 53, Q1 FY23 Earnings Call at 2538 (Iger:
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1    “Like many of our peers, we will no longer be providing long-term subscriber guidance
2    in order to move beyond an emphasis on short-term quarterly metrics – although we will
3    provide color on relevant drivers”) (emphasis added).) Each event is at least as consistent
4    with changed business circumstances as it is with fraud, which defeats Plaintiffs’ scienter
5    theory. See City of Dearborn, 856 F.3d at 622 (holding scienter not as compelling as
6    “opposing inference that Defendants exhibited poor business judgment” on write-down);
7    see also Twitter, 29 F.4th at 622.
8          Core Operations. Plaintiffs also ask the Court to infer scienter through the core
9    operations theory, which “relies on the principle that corporate officers have knowledge
10   of the critical core operation of their companies”. Intuitive Surgical, 759 F.3d at 1062.
11   “Proof under this theory is not easy”. Id. “[A] plaintiff must produce either specific
12   admissions by one or more corporate executives of detailed involvement in the minutia of
13   a company’s operations . . . or witness accounts demonstrating that executives had actual
14   involvement in creating false reports”. Id. The Consolidated Complaint does not contain
15   any of those things. Indeed, Plaintiffs fail to identify any mismatch at all between
16   Defendants’ public disclosures and internal information concerning Disney+.
17         Confidential Witnesses. Plaintiffs seek to infer scienter based on certain
18   information provided by former Disney employees. But “a complaint relying on
19   statements from confidential witnesses must pass two hurdles”. Digimarc, 552 F.3d at
20   995. First, the witnesses “must be described with sufficient particularity to establish their
21   reliability and personal knowledge”. Id. “Second, those statements . . . must themselves
22   be indicative of scienter”. Id. Plaintiffs’ allegations fail on both counts.
23         First, the CWs lack “reliable personal knowledge of the defendants’ mental state”.
24   Digimarc, 552 F.3d at 998; see Intuitive Surgical, 759 F.3d at 1062 (rejecting
25   “impressions of witnesses who lacked direct access to the executives”); In re Accuray,
26   Inc. Sec. Litig., 757 F. Supp. 2d 936, 948-49 (N.D. Cal. 2010) (holding that absent
27   “personal interactions” the “opinions and observations of the CWs” cannot show “what
28   these individual Defendants knew or did not know”); McCasland v. FormFactor, Inc.,
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1    2008 WL 2951275, at *8 (N.D. Cal.) (not crediting testimony of CW who does not allege
2    “any interaction or communication with any of the defendants, or to have provided any
3    defendant with information or to have heard or read any statement by any defendant, that
4    contradicted or even cast doubt on a public statement made during the class period”).
5    Five of Plaintiffs’ seven confidential witnesses had no interactions with any Individual
6    Defendants whatsoever, and therefore lack reliable personal knowledge. (See Index. B,
7    Confidential Witness Chart.) The remaining two similarly fail. CW-1 left Disney just
8    months after the start of the Class Period, and therefore has no personal knowledge of
9    defendants’ mental state thereafter. (Supra § III.A.1 at 12-13.) And while CW-2
10   allegedly had “weekly meetings with the ‘entire executive team’ at Disney Streaming”,
11   “met with Chapek” twice, and “attended several meetings with Daniel and interacted with
12   McCarthy” (CC ¶ 56), there are no allegations about any specific information discussed,
13   let alone that any of it was misstated to investors.
14         Second, none of the confidential witness allegations supports a strong inference of
15   scienter. Digimarc, 552 F.3d at 996. At best, the confidential witnesses offer their own
16   personal business opinions, such as that they did not understand “the purpose of the
17   DMED reorganization”, that they believed the subscriber targets were “crazy”, and that
18   they felt pressured by a request for “higher subscriptions and revenues and fewer losses”.
19   (CC ¶¶ 52, 61, 63.) But that says nothing about the mindset of the Individual Defendants.
20   Witness declarations “must provide specific facts showing a connection between the
21   [misrepresentation] and the mindset of the person who made it”. Prodanova, 993 F.3d at
22   1110. The only specific interactions with the Individual Defendants come from CW-1,
23   and those allegations actually negate scienter. “CW-1 was ‘heavily involved in providing
24   the data and writing the script’ for the Investor Day presentation in December 2020 in
25   which defendants Chapek and McCarthy forecast aggressive subscriber growth for
26   Disney+” and “walked [Chapek] through the five-year plan financials before the big
27   meeting’ at Investor Day”. (CC ¶¶ 35, 36.) CW-1 does not say that any of the statements
28   at Investor Day were false—let alone fraudulent. To the contrary, CW-1 confirms that
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1    the “plan projected” Disney+ would be cash flow positive in 2024. (CC ¶ 35.)
2          Plaintiffs attempt to turn CW-1’s confirmation of the Investor Day projections on
3    its head by claiming that in April 2021—several months later—the five-year plan shifted
4    and suddenly showed that Hulu would be profitable one year earlier, and Disney+ one
5    year later. (CC ¶¶ 35-37, 319-20.) But, as discussed above, CW-1 left the Company very
6    shortly thereafter—in mid-2021—and does not claim that any of the public statements
7    during CW-1’s tenure were false (let alone that the Individual Defendants had an intent to
8    defraud). (CC ¶ 30; supra § III.A.1.) CW-1 has no personal knowledge of the five-year
9    plan after departing Disney in mid-2021, and no personal knowledge of the Individual
10   Defendants’ knowledge or awareness after that time. Plaintiffs’ attempt to imply scienter
11   during a time when CW-1 was not even employed at Disney fails.
12                          a. Plaintiffs Fail To Plead Scienter as to Mr. Chapek.
13         In addition to the boilerplate allegations above, which add nothing, Plaintiffs
14   advance a host of allegations against Mr. Chapek that could apply to any executive. Each
15   of Plaintiffs’ arguments fails to “state with particularity facts giving rise to a strong
16   inference that [Mr. Chapek] acted with the required state of mind”. Intuitive Surgical,
17   759 F.3d at 1058 (emphasis added). And each is better suited to precisely the opposite
18   non-fraud explanation: Mr. Chapek fully believed in his growth strategy for Disney+,
19   and the Board ultimately opted to change directions and return Mr. Iger as CEO.
20         Leadership Style. Plaintiffs ask the Court to infer scienter based on allegations
21   about “inappropriate management style”. But allegations of mismanagement will only
22   support a securities fraud claim if they are coupled with allegations that the defendants
23   were aware, or recklessly disregarded, that their mismanagement created an environment
24   in which fraud was occurring. See Webb v. Solarcity Corp., 884 F.3d 844, 856 (9th Cir.
25   2018). Plaintiffs come nowhere close to that standard. Allegations that Mr. Chapek
26   created pressure to achieve “aggressive” and “unreasonable” streaming goals (CC ¶¶ 341-
27   343) are consistent with legitimate business objectives, not an intent to defraud. See In re
28   Wet Seal Inc. Securities Litigation, 518 F. Supp. 2d 1148, 1174 (C.D. Cal. 2007)
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1    (“allegations of a motive to present better financials . . . are insufficient to establish a
2    strong inference of scienter”). Similarly, allegations that Mr. Chapek “wanted to keep
3    data close”, without any specific allegations of what that data contained or that it in any
4    way differed from public statements, are insufficient. (CC ¶ 346.) Moreover, Plaintiffs’
5    second-hand allegations that Mr. Chapek “did not want to hear that his decisions were
6    wrong”, that it was his “way or the highway”, or that someone supposedly believed that
7    the subscriber targets were “crazy” or supposedly “told him to be upfront with investors”
8    (see, e.g., ¶¶ 348-349, 364) are entitled to no weight as there is neither any alleged
9    personal knowledge, nor any indication that Mr. Chapek himself believed the targets
10   were unattainable. See In re NVIDIA, 768 F.3d at 1059, 1061 (holding allegations of a
11   “mentality” to not “say anything to muck the waters” were too vague to raise an inference
12   of scienter); Costabile v. Natus Medical Inc., 293 F. Supp. 3d 994, 1018-19 (N.D. Cal.
13   2018) (no scienter where competing inference existed that statements “were intended to
14   be nothing more than [defendant’s] then-held belief”). At best, the allegations “paint a
15   picture of a mismanaged organization” that was in need of a leadership change, not fraud.
16   Webb, 884 F.3d at 856.
17         Termination. “Notable departures are not in and of themselves evidence of
18   scienter”. In re Cornerstone, 355 F. Supp. 2d at 1093. “Changes in leadership are only
19   to be expected when leadership fails. That is not, in itself, a symbol of fraud”. In re
20   Hertz Glob. Holdings Inc. Sheet Metal Workers Local Union 80 Pension Tr. Fund, 905
21   F.3d 106, 119 (3d Cir. 2018). Plaintiffs do not overcome the “reasonable assumption”
22   that “corporate reshuffling” was due just to disappointing results. Webb, 884 F.3d at 857.
23         Compensation. Plaintiffs allege that Mr. Chapek was “highly motivated to
24   increase Disney+ subscriber numbers because [his] compensation largely depended on
25   it”. (CC ¶ 372.) But “[i]t is common for executive compensation, including stock
26   options and bonuses, to be based partly on the executive’s success in achieving key
27   corporate goals”. Rigel Pharms., Inc. Sec. Litig. v. Deleage, 697 F.3d 869, 884 (9th Cir.
28   2012). Courts “will not conclude that there is fraudulent intent merely because a
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1    defendant’s compensation was based in part on such successes”. Id. Such an inference is
2    even weaker here, where a large portion of compensation was awarded in long-term
3    equity, which did not vest (and therefore could not be sold) for years. (See CC ¶ 372; see
4    Ex. 23, Disney 2020 Proxy (1/17/2021) at 933.) Accordingly, Plaintiffs’ unsupported
5    “allegations of pecuniary motive” are insufficient; holding otherwise would result in
6    “virtually every company in the United States that experiences a downturn in stock price
7    [] be[ing] forced to defend securities fraud actions”. Digimarc, 552 F.3d at 1005.
8          Contract Renewal. “[A]llowing a plaintiff to prove a motive to defraud by simply
9    alleging a corporate defendant’s desire to retain his position with its attendant salary . . .
10   would force the directors of virtually every company to defend securities fraud actions”.
11   Phillips v. LCI International, Inc., 190 F.3d 609, 623 (4th Cir. 1999). That is all that
12   Plaintiffs allege. It strains credulity to suggest that Mr. Chapek “intentionally placed the
13   subscriber target far enough out into the future” to trick the market into believing the
14   target was attainable (CC ¶ 124), to remain CEO so that he then would need to deliver on
15   that same target. Plaintiffs plead no facts to support that conjecture.
16         Reorganization of DMED. Plaintiffs do not plead any facts suggesting that
17   Mr. Chapek created DMED to obscure a fraud. Nor could they. Both before and after
18   the creation of DMED, Disney disclosed the same “hard data” to investors, including
19   Disney+’s subscriber numbers and ARPU, and DTC’s revenue, operating loss and more.
20   (See supra § I.C-E.) Indeed, in advance of the DMED financial reporting in 2021,
21   Disney provided 2020 financials as if they were organized within DMED for appropriate
22   comparison. (Id.) And, starting in February 2022, Disney even broke out a Disney+
23   programming and production costs with its DTC operating expenses. (Ex. 50, 2022 Form
24   10-K at 2310-12.) DMED did not obscure the performance of Disney+.
25         Accounting. Plaintiffs’ accounting allegations (CC ¶¶ 163, 214-23) cannot show
26   scienter. Scienter is not established even “by the mere publication of inaccurate
27   accounting figures, or failure to follow generally accepted accounting procedures
28   (‘GAAP’), without more”. In re Vantive Corp. Sec. Litig., 110 F. Supp. 2d 1209, 1216
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1    (N.D. Cal. 2000), aff’d, 283 F.3d 1079 (9th Cir. 2002). Here, Plaintiffs do not allege
2    even accounting errors (let alone intentional ones), instead conceding, as they must, that
3    Disney’s financial reporting was accurately disclosed. (See, e.g., CC ¶¶ 132, 141-142.)
4                              b. Plaintiffs Fail To Plead Scienter as to Ms. McCarthy.
5            The few specific allegations about Ms. McCarthy demonstrate that Plaintiffs have
6    failed to allege a strong inference of scienter. First, “absent allegations that the
7    resignation at issue was . . . accompanied by suspicious circumstances, the inference that
8    the defendant corporation forced certain employees to resign because of its knowledge of
9    the employee’s role in the fraudulent representations will never be as cogent or as
10   compelling as the inference that the employees resigned . . . for unrelated personal or
11   business reasons”. Digimarc, 552 F.3d at 1002. Plaintiffs plead no suspicious
12   circumstances that compel an inference that McCarthy’s departure related to fraud.
13   Second, according to Plaintiffs, Ms. McCarthy is alleged to have “veer[ed] wildly off
14   script” at a meeting with Disney’s Board and provided “blunt assessments” of Disney+,
15   allegedly causing the Board “to pepper Chapek” with questions. (CC ¶¶ 317, 364, 392-
16   92.) That is entirely inconsistent with an alleged scheme to defraud or an intent to
17   conceal information. Third, Plaintiffs must plead that Ms. McCarthy’s trades were
18   “dramatically out of line with prior trading practices” and occurred “at times calculated to
19   maximize the personal benefit from undisclosed inside information”. Ronconi v. Larkin,
20   253 F.3d 423, 435 (9th Cir. 2001). They cannot. Each of Ms. McCarthy’s trades during
21   the putative Class Period was a continuation of a pre-class pattern of exercising options
22   that were near expiration and selling the shares pursuant to a Rule 10b5-1 trading plan. 7
23
24       7
           (See, e.g., Ex. 3, Form-4 (1/7/2015) at 8 (showing sale of shares from redeemed options, set to
     expire in four days, pursuant to trading plan); Ex. 5, Form-4 (12/21/2015) at 14 (same, with expiration
25   same day); Ex. 6, Form-4 (1/15/16) at 17 (same with options expiring in one day); Ex. 11, Form-4
     (12/20/2019) at 277 (same, with expiration same day); Ex. 22, Form-4 (1/15/2021) at 902 (same, with
26   expiration in 11 days); Ex. 24, Form-4, 1/22/2021 at 1006 (same, with expiration in six days); Ex. 25,
27   Form-4 (1/27/2021) at 1009 (same, with expiration in one day); Ex. 37, Form-4 (1/14/2022) at 1634
     (same, with expiration in four to six days); Ex. 38, Form-4 (1/18/2022) at 1637 (same, with expiration
28   same day); Ex. 51, Form-4 (1/13/2023) at 2451 (same, with expiration in four days.)

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1    There is no strong inference of scienter under these circumstances. Metzler, 540 F.3d at
2    1067, n.11 (holding no scienter where person “regularly sold as their options vested”
3    pursuant to “pre-determined plans [that] may rebut [] an inference of scienter”).
4                           c. Plaintiffs Fail To Plead Scienter as to Mr. Daniel.
5          Plaintiffs plead no facts suggesting that Mr. Daniel did not believe the only two
6    statements he is alleged to have made (CC ¶¶ 164-66, 277), which means Plaintiffs
7    cannot establish scienter as to Mr. Daniel as a matter of law. See Costabile, 293 F. Supp.
8    3d at 1018-19. There are no facts pleaded that would support a strong inference of
9    scienter as to Mr. Daniel on any topic, and merely labeling him as Mr. Chapek’s “right-
10   hand-man”, without more, is insufficient. (CC ¶ 8.)
11                          d. Plaintiffs Fail To Plead Scienter as to Mr. Iger.
12         Plaintiffs cannot plead scienter as to Mr. Iger. Mr. Iger stepped down as CEO on
13   February 25, 2020 and transitioned the role to Mr. Chapek. (CC ¶¶ 22-23.) Plaintiffs
14   acknowledge that Mr. Iger openly disagreed with Mr. Chapek’s strategy when he
15   returned as CEO—which itself negates any inference of scienter. (CC ¶ 127.) Plaintiffs
16   try to save their scienter argument by alleging that Mr. Iger made significant sales of
17   Disney common stock from January to June 2021. But any trades by Mr. Iger are
18   irrelevant in the absence of any challenged statements or conduct. See In re ICN, 299 F.
19   Supp. 2d at 1068 (concluding scienter not pleaded in part where “Plaintiffs make no
20   allegations connecting [two defendants] with the allegedly misleading statements”).
21   Regardless, “stock sales alone cannot provide a strong basis for scienter”. In re Splash
22   Tech. Holdings, Inc. Sec. Litig., No. C 99-00109 SBA, 2000 WL 1727377 (N.D. Cal.
23   Sept. 29, 2000). Plaintiffs fail to plead that Mr. Iger’s trades are suspicious. Plaintiffs
24   arbitrarily compare Mr. Iger’s trades in the first half of 2021 to the two years prior to the
25   putative Class Period. (CC ¶ 264.) But Mr. Iger became CEO of Disney in 2005 and his
26   trading history shows a pattern of large trades like those Plaintiffs identify. (See Ex. 1,
27   Form-4 (5/16/2013) at 2 (sale of 1,000,000 shares); Ex. 2, Form-4 (2/13/2014) at 5 (sale
28   of 480,000 shares); Ex. 4, Form-4 (5/13/2015) at 11 (sale of 200,000 shares); Ex. 7,
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1    Form-4, (6/9/2017) at 20 (sale of 797,578 shares).)
2                           e. Plaintiffs Scienter Allegations Fail Under Holistic Analysis.
3          Plaintiffs’ scienter allegations are weaker in the aggregate than apart. Plaintiffs
4    ignore Disney’s extensive disclosures—about the risks of its DTC strategy, its goals and
5    tactics, and its massive losses—that contradict any intent to mislead. Plaintiffs allege a
6    profit motive for Mr. Chapek, yet he is not alleged to have sold stock during periods of
7    alleged inflation. Webb, 884 F.3d at 856 (“a lack of stock sales can detract from a
8    scienter finding”). Plaintiffs identify nothing Mr. Daniel stood to gain. And Plaintiffs
9    allege, yet ignore, that Ms. McCarthy and Mr. Iger were critics of the DTC strategy.
10   “Although the allegations in this case are legion, even together they are not as cogent or
11   compelling as a plausible alternative inference”—Mr. Chapek pursued an aggressive,
12   transparent strategy to grow DTC and, when results faltered, Mr. Iger returned and
13   pursued a different strategy. Digimarc, 552 F.3d and 1007.
14            5. Plaintiffs Fail to Plead Loss Causation.
15         Plaintiffs also fail to adequately plead loss causation. Loss causation is shorthand
16   for the requirement that investors must demonstrate that the defendant’s deceptive
17   conduct, “as opposed to some other fact, foreseeably caused the plaintiff’s loss”. In re
18   Nektar Therapeutics Sec. Litig., 34 F.4th 828, 838 (9th Cir. 2022). A plaintiff can satisfy
19   the loss causation pleading burden by alleging that “the defendant revealed the truth
20   through ‘corrective disclosures’ which ‘caused the company’s stock price to drop and
21   investors to lose money’”. Id. However, to adequately plead a corrective disclosure, a
22   plaintiff must “plausibly allege that the defendant’s fraud was ‘revealed to the market
23   and caused the resulting losses’”. Loos v. Immersion Corp., 762 F.3d 880, 887 (9th Cir.
24   2014) (quoting Metzler, 540 F.3d at 1062).
25         Plaintiffs do not identify a specific increase in the price of Disney common stock
26   as a result of the alleged fraud. Instead, Plaintiffs allege generally that “Disney common
27   stock traded at artificially inflated prices” “throughout the Class Period”. (CC ¶ 383.)
28   They assert that “the artificial inflation was removed” when “Defendants’
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1    misrepresentations and fraudulent conduct became apparent to the market through three
2    separate disclosures”: (1) November 11, 2021—Disney’s earnings for its fourth quarter
3    and fiscal year ending October 2, 2021; (2) November 8, 2022—Disney’s earnings for its
4    fourth quarter and fiscal year ending October 1, 2022; and (3) May 10, 2023—Disney’s
5    earnings for its second quarter 2023. (CC ¶¶ 384, 390, 394.) Each of Plaintiffs’ alleged
6    corrective disclosures coincides with general earnings results for the Company, as
7    opposed to a specific news report or revelation. And Plaintiffs merely cherry-pick certain
8    information within those earnings reports related to Disney+ and assert that Disney’s
9    stock price decline thereafter was “in response to this news”. (CC ¶¶ 386, 391, 395.) But
10   Ninth Circuit “precedent requires a securities fraud plaintiff to allege that the market
11   ‘learned of and reacted to th[e] fraud, as opposed to merely reacting to reports of the
12   defendant’s poor financial health generally’”. Loos, 762 F.3d at 889 (quoting Metzler,
13   540 F.3d at 1063). Plaintiffs have not done so. None of the alleged corrective
14   disclosures reveals the existence of any fraud, restates any of Disney’s financials,
15   modifies the Disney+ targets (including the profitability or subscriber targets), or reveals
16   any information about subscriber churn. Indeed, these earnings results merely reported
17   up-to-date quarterly metrics about DTC operating losses and Disney+ subscriber count as
18   Disney had done each and every other quarter. That is insufficient as a matter of law. Id.
19         Plaintiffs’ alleged corrective disclosures fail for an additional, independent reason.
20   The supposedly revelatory information Plaintiffs identify on these three dates already had
21   been disclosed by Disney months earlier and was therefore neither new nor corrective.
22   To be corrective, a disclosure must by definition reveal “new information to the market
23   that was not yet reflected in the company’s stock price”. Nektar, 34 F.4th at 839. That is
24   because “the market price of shares traded on well-developed markets reflects all publicly
25   available information”, Basic Inc. v. Levinson, 485 U.S. 224, 246 (1988); the “disclosure
26   of confirmatory information—or information already known by the market—will not
27   cause a change in stock price”. In re Herbalife, Ltd. Sec. Litig., 2015 WL 1245191, at *4
28   (C.D. Cal. Mar. 16, 2015). Accordingly, to be corrective a disclosure “must by definition
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1    reveal new information to the market that has not yet been incorporated into the [stock]
2    price”. Nektar, 34 F.4th at 839.
3          First, on November 10, 2021, Plaintiffs claim that “Disney disclosed a slowdown
4    in Disney+ subscriber growth” in its 4Q 2021 earnings call. (CC ¶ 385.) But Disney
5    actually reported that it “ended the fourth quarter and the fiscal year with over 118
6    million global paid Disney+ subscribers, reflecting over 2 million net additions from Q3,
7    in line with the subscriber guidance we gave in September”. (Ex. 34, Q4 FY21 Earnings
8    Call (11/10/21) at 1456 (emphasis added).) In other words, Disney publicly disclosed the
9    same expectations two months earlier: “In Q4, I think what you can expect to see is that
10   our global paid sub[scribers] will increase by low single-digit millions of subscribers
11   versus Q3” as a result of “some headwinds”. (Ex. 33, Goldman Sachs Conference
12   (9/21/2021) at 1425.) Because Disney disclosed its subscriber slowdown in September,
13   and merely confirmed that information in November, the November disclosure cannot
14   establish loss causation. Indeed, Plaintiffs do not allege—nor could they—that Disney’s
15   stock price experienced an enduring decline when the information was first disclosed in
16   September, which “refutes the inference that the alleged concealment of th[ese] particular
17   fact[s] caused any material drop in the stock price”. Tesla, 985 F.3d at 1198.
18         Second, on November 8, 2022, Plaintiffs allege that Disney “shocked investors”
19   when it “reported a monumental quarter-end operating loss of $1.47 billion” for DTC in
20   Q4 2022. (CC ¶ 390.) But that was neither new, nor corrective. On August 10, 2022,
21   Disney disclosed DTC operating losses for Q3 2022 of $1.1 billion—a nearly $800
22   million year-over-year increase from its Q3 2021 operating losses. (Ex. 46, Q3 FY22 8-
23   K at 2161, 2163.) On the earnings call on August 11, Disney specifically indicated what
24   to expect for the fourth quarter in relation to DTC operating losses. (Ex. 47, Q3 FY22
25   Earnings Call (8/11/2022) at 2207.) Ms. McCarthy explained that in “the next quarter”,
26   investors “will see a similar increase year-over-year that you saw this quarter”. (Id.) In
27   other words, Disney told investors in August that they should expect Q4 2022 operating
28   losses for DTC to be approximately $800 million more than the DTC operating losses
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1    from Q4 2021 ($630 million): approximately $1.4 billion. That is what they then
2    disclosed in November. Thus, Disney explicitly notified investors in August exactly
3    what to expect for fourth quarter operating losses, which was then reported in November.
4    And, again, Plaintiffs do not (and cannot) allege that Disney’s stock price declined after
5    the August 11, 2022 earnings call—refuting any inference that the concealment of this
6    information caused a stock decline. See Tesla, 985 F.3d at 1198.
7          Third, on May 10, 2023, Plaintiffs assert that Mr. Iger “leveled with investors and
8    acknowledged that Disney would be forced to radically alter the Disney+ business
9    model”. (CC ¶ 394.) Yet Plaintiffs ignore that Mr. Iger—who had returned as CEO on
10   November 20, 2022—had already announced this strategic reversal during a February 8,
11   2023 earnings call, and there was no stock decline. (Ex. 53, Q1 FY23 Earnings Call
12   (2/8/2023) at 2536-39 (announcing a “transformation” to “rationalize” the streaming
13   business to “put[] it on a path to sustained growth and profitability . . . while also
14   reducing expenses to improve margins and returns”, a re-reorganization to unwind
15   DMED, cuts on content spending, and a reconsideration of international markets and
16   pricing). The lack of stock reaction on the prior days when the same information was
17   revealed refutes any inference that this caused the investors’ loss.
18      B. Plaintiffs’ § 20A Contemporaneous Trading Claim (Count II) Fails As A
19         Matter of Law.
20         Plaintiffs’ § 20A contemporaneous trading claim fails because Plaintiffs do not
21   adequately allege that either Mr. Iger or Ms. McCarthy violated Rule 10b-5—a predicate
22   to any § 20A claim—nor do they allege that either traded with material non-public
23   information. Lipton, 284 F.3d at 1035 n.15 (“[T]o prevail on their claims for violations
24   of § 20(a) and § 20A, plaintiffs must [] allege a violation of § 10(b) or Rule 10b 5.”);
25   Apollo Grp., 774 F.3d at 610 (dismissing § 20A claim where “the alleged material, non-
26   public information is the same information at issue in the [deficient] Exchange Act
27   claims”). For Mr. Iger, who stepped down as CEO, Plaintiffs do not allege any material
28   non-public information that he received at this time. In re Wet Seal, 518 F. Supp. 2d at
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1    1181 (dismissing insider trading claim for lack of material, non-public information).
2          Moreover, in an “actively traded market” like the one in which Disney common
3    stock is traded, a Plaintiff must show that it traded “on the same trading day, or one
4    trading day after, the insider’s transaction”. In re Countrywide Financial Corp.
5    Securities Litigation, 588 F. Supp. 2d 1132, 1025 (C.D. Cal. 2008). Here, Plaintiffs do
6    not even try to allege contemporaneous trades for six of Mr. Iger’s 14 trades and six of
7    Ms. McCarthy’s eight trades. (Compare CC ¶¶ 263 (Mr. Iger), 380 (Ms. McCarthy) and
8    CC ¶ 423.) Plaintiffs allege to have traded within one day only of Mr. Iger’s February 2,
9    2021 trades. (See CC ¶ 423.) Plaintiffs’ trades are too remote in time to be
10   contemporaneous with any of Mr. Iger’s other trades and any of Ms. McCarthy’s trades
11   because they occur two or more days later. (See CC ¶ 423.) On that basis, Plaintiffs’
12   § 20A claim as to all but Mr. Iger’s February 2, 2021 trades must be dismissed. See In re
13   Arrowhead, 2016 WL 6562066, at *11 (C.D. Cal Mar. 29, 2016).
14      C. Plaintiffs’ Control Person Liability Claim (Count III) Fails As A Matter of
15         Law.
16         Because Plaintiffs fail to allege a § 10(b) violation, Plaintiffs’ § 20(a) control
17   person claim fails. Digimarc, 552 F.3d at 990 (to state a § 20(a) claim plaintiff must
18   demonstrate “a primary violation of federal securities law”).
19                                   IV.    CONCLUSION
20         For the reasons set forth above, Plaintiffs’ Consolidated Complaint should be
21   dismissed in its entirety and with prejudice.
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                              L.R. 11-6.2 Certificate of Compliance
1
2    The undersigned, counsel of record for Defendants, certifies that this brief contains 40
3    pages, which complies with the page limit set by court order dated November 22, 2023.
4
     Dated: December 21, 2023               /s/ John W. Spiegel
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